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  Attorneys for WAYMO LLC
                              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

 WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA

                Plaintiff,                     DECLARATION OF LINDSAY COOPER
                                                  IN SUPPORT OF PLAINTIFF WAYMO
       vs.                                     LLC’S ADMINISTRATIVE MOTION TO
                                                  FILE UNDER SEAL THE
 UBER TECHNOLOGIES, INC.;                      DECLARATION OF PIERRE-YVES
    OTTOMOTTO LLC; OTTO TRUCKING                  DROZ IN RESPONSE TO THE COURT’S
 LLC,                                          QUESTION REGARDING WAYMO’S
                                                  ASSERTED TRADE SECRET #1 AND
                Defendants.                    EXHIBITS THERETO
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                                                                     CASE NO. 3:17-cv-00939-WHA
                                     COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1 I, Lindsay Cooper, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,

 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set

 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.

 6          2.      I make this declaration in support of Waymo’s Administrative Motion to File Under

 7 Seal the Declaration of Pierre-Yves Droz in Response to the Court’s Question Regarding Waymo’s

 8 Asserted Trade Secret #1 and Exhibits Thereto (the “Administrative Motion”). The Administrative

 9 Motion seeks an order sealing the following materials:

10                        Document                   Portions to Be Filed         Designating Party
                                                          Under Seal
11           Declaration of Pierre-Yves Droz in     Entire Document            Waymo
             Response to the Court’s Question
12
             Regarding Waymo’s Asserted
13           Trade Secret #1 (“Droz
             Declaration”)
14           Exhibits J-L to Droz Declaration       Entire Documents           Waymo
15
            3.      The Droz Declaration and exhibits thereto contain references to Waymo’s trade secret
16
     information, which Waymo seeks to seal. The references describe Waymo trade secrets with
17
     specificity, including their description, development, and implementation.
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            4.      I understand that these trade secrets are maintained as secret by Waymo (Dkt. 24-15)
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     and are valuable as trade secrets to Waymo’s business (Dkt. 24-3). The public disclosure of this
20
     information would give Waymo’s competitors access to descriptions of the functionality of Waymo’s
21
     autonomous vehicle system. If such information were made public, I understand that Waymo’s
22
     competitive standing would be significantly harmed.
23
            5.      Waymo’s request to seal is narrowly tailored to materials that merit sealing, and
24
     Waymo’s request to seal is consistent with other administrative motions to seal that have already been
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     granted by the Court in this case. (See Dkt. 416, 414, 406, 393, 392.)
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                                          COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
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 1          I declare under penalty of perjury under the laws of the State of California that the foregoing is

 2 true and correct, and that this declaration was executed in San Francisco, California, on May 17, 2017.

 3                                                  By /s/ Lindsay Cooper
                                                       Lindsay Cooper
 4                                                     Attorneys for WAYMO LLC
 5

 6                                     SIGNATURE ATTESTATION

 7          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 8 filing of this document has been obtained from Lindsay Cooper.

 9
                                                   /s/ Charles K. Verhoeven
10                                                   Charles K. Verhoeven
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                                                      -3-                   CASE NO. 3:17-cv-00939-WHA
                                           COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
